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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 7:20-cv-00094-MCR-GRJ

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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              EXHIBIT 1
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                                                                       300 North LaSalle
                                                                       Chicago, IL 60654
             Mark J. Nomellini                                           United States
           To Call Writer Directly:                                                                                                     Facsimile:
             +1 312 862 2410                                            +1 312 862 2000                                              +1 312 862 2200
          mnomellini@kirkland.com
                                                                       www.kirkland.com




                                                                   September 24, 2020


              By E-Mail

              Major Nicole Kim
              Nicole.m.kim2.mil@mail.mil
              703-693-1092


                                  Re:       Touhy Request Relating to In re: 3M Combat Arms Earplug Products
                                            Liability Litigation, 3:19-md-2885-MCR-GRJ (N.D. Fla.).

          Dear Major Kim:

                  In connection with In re: 3M Combat Arms Earplug Products Liability Litigation—a
          multidistrict litigation pending before Judge Rodgers in the Northern District of Florida—this
          letter constitutes Defendants’ 3M Company (“3M”) and Aearo Technologies LLC (“Aearo”)
          Touhy 1 request to the United States Department of Defense (“DoD”) to take the deposition of
          James Davis. Mr. Davis was the Hearing Conservation Program Manager at Fort Benning from
          2007 to 2009. Bellwether Plaintiff Dustin McCombs was stationed at Fort Benning during the
          time period when Mr. Davis was the Hearing Conservation Program Manager.

                  This letter also constitutes Defendants’ Touhy request to the DoD and to James Davis to
          produce certain documents related noise exposure and elements of the Army’s Hearing
          Conservation Program. Pursuant to 32 C.F.R. § 516.40-57 and 32 C.F.R. § 97, 33 C.F.R. § 1.20-1
          and 6 C.F.R. § 5.45, DoD Directive 5405.2 § 6.2, Navy Instruction 5820.8A, and Air Force
          Instruction 51-301, Defendants set forth the basis for their Touhy request as follows:

          I.           Summary of the Litigation
               Plaintiffs in this litigation include servicemen and women who claim to have been issued
          Combat Arms Earplugs Version 2 (“CAEv2”) in connection with their military service, including

          1
              United States ex rel. Touhy v. Ragen, 340 U.S. 462 (1951).




Beijing       Boston   Dallas   Hong Kong   Houston   London   Los Angeles   Munich   New York   Palo Alto   Paris   San Francisco    Shanghai   Washington, D.C.
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Plaintiff McCombs. The CAEv2 was initially designed and distributed by Aearo. In 2008, 3M,
purchased Aearo and continued to market and sell the CAEv2. Servicemember plaintiffs in this
litigation, including Plaintiff McCombs, allege that the CAEv2 was defective and caused them to
sustain serious injuries during their military service, including hearing damage. The information
sought by these Touhy requests will assist Defendants in establishing that the CAEv2 did not cause
Plaintiff McCombs’ alleged hearing loss and/or tinnitus. These Touhy requests will also relate to
the alleged seriousness of Plaintiff McCombs’ injuries.

        On February 27, 2020, the Court issued Pretrial Order No. 29, which selected twenty-five
cases for the initial bellwether pool. The parties are now conducting discovery in each of the initial
bellwether cases. Defendants took the deposition of Plaintiff McCombs on July 27, 2020.

II.      Summary of the Deposition Requested
         Defendants request to take the deposition of James Davis. Plaintiff McCombs was
stationed at Fort Benning for basic training during the time period when Mr. Davis was the Hearing
Conservation Program Manager at Fort Benning. Defendants questioned Plaintiff McCombs
regarding the noise exposures he was exposed to during basic training, about how he obtained the
CAEv2 during basic training, and about his use of the CAEv2 during basic training. Defendants
seek to depose Mr. Davis regarding: (i) Mr.Davis’ role and responsibilities as Hearing
Conservation Program Manager at Fort Benning; (ii) the Hearing Conservation Program at Fort
Benning; (iii) selection, distribution, fitting, and training for hearing protection devices, including
the CAEv2, at Fort Benning; (iv) evaluation of potential noise exposures at Fort Benning and steps,
if any, taken to mitigate those exposures; (v) instructions, in any form, provided at Fort Benning
to service members, including Plaintiff McCombs, related to the CAEv2 or other hearing
protection devices; (vi) practices, policies and procedures related to military audiological
evaluations at Fort Benning; (vii) completion of documents and records regarding audiological
evaluations; (vi) completion of documents and records regarding the selection, distribution, fitting,
and training of patients for hearing protection devices and (vii) Plaintiff McCombs’ noise
exposures, use of hearing protection devices, and hearing evaluations and records at Fort Benning.

III.     Summary of the Documents Requested
               (a)     Specific Documents Requested

                       •   Written policies and procedures used or distributed from 2007 to 2009
                           at Fort Benning related to hearing protection and hearing protection
                           devices.
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                      •   PowerPoint presentations or other documents related to presentations
                          made to service members regarding hearing protection and hearing
                          protection devices, including the CAEv2s.

                      •   Written policies and procedures related to military audiological
                          evaluations.

                      •   Written policies and procedures related to the selection, distribution,
                          fitting, and training for hearing protection devices.

                      •   Documents that contain recommendations and/or guidelines for specific
                          hearing protectors to be worn when using specific weapons or when
                          encountering specific noise exposures.

                      •   Documents and training materials regarding the proper use, fit,
                          maintenance, and/or care of hearing protection materials include the
                          CAEv2, including but not limited to presentations, slide decks,
                          computerized tutorials, on-line instructions, printed instructions,
                          pamphlets, or memoranda.

              (b)     Relevance of the Requested Documents

        Defendants took the deposition of Plaintiff McCombs on July 27, 2020. During Plaintiff
McCombs’ deposition, Defendants questioned Plaintiff McCombs regarding noise exposure
encounters during basic training and the manner by which he was fit with and trained to use the
CAEv2. Plaintiff McCombs testified that he received the CAEv2, was instructed on how to use
the CAEv2, and used the CAEv2 during basic training. Plaintiff McCombs attended basic training
at Fort Benning. The requested documents are relevant to address Plaintiff McCombs’ allegations
that his hearing was injured due to use of the CAEv2 and to address the extent/severity of his
alleged injuries. A critical component of evaluating Mr. McCombs’ claims is understanding the
Hearing Conservation Program in place during the time that Plaintiff McCombs served in the
Army, including what role military audiologists and other hearing professionals played in the
distribution, use, and training of service members with respect to noise exposures and hearing
protection devices, including the CAEv2. It is also critically important to understand accurately
the records—including the recordkeeping procedures and proper interpretation of terms—that
were kept as they relate to Plaintiff McCombs with respect to noise exposures, hearing protection
devices, and hearing evaluations. Mr. Davis, as the Hearing Conservation Program Manager at
Fort Benning during the time that Mr. McCombs was allegedly first issued CAEv2, has critical
knowledge relevant to this litigation that cannot be obtained from other sources.
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IV.    Additional Considerations
         These requests comply with the policies of the DoD, DLA, Army, Navy, Marine Corps,
Air Force, and Coast Guard regarding the provision of information by its employees in connection
with litigation in federal court:
               1.     Disclosure of the requested information is not unduly burdensome or
                      otherwise inappropriate under the federal discovery rules.
               2.     Disclosure of the requested information would be appropriate under the
                      Federal Rules of Evidence and appropriate under the rules of the Northern
                      District of Florida.
               3.     Disclosure of the requested information would be appropriate under the
                      Federal Rules of Civil Procedure and would not impact any concerns
                      regarding privileged information pursuant to the rules of procedure
                      governing this litigation.
               4.     Disclosure of the requested information would not violate any statute,
                      executive order, regulation, or directive.
               5.     Disclosure of the requested information would not reveal any classified
                      information, data restricted pursuant to AR 380-5, unclassified technical
                      data withheld from public release pursuant to 32 C.F.R. § 250 or DoD
                      Directive 5230.25, privileged safety information restricted from public
                      release by DoD Directive 6055.7, AFI 31-401, or other matters exempt from
                      unrestricted disclosure.
               6.     Disclosure of the requested information would not interfere with ongoing
                      enforcement proceedings, compromise any constitutional rights, reveal the
                      identity of an intelligence source or confidential informant, disclose trade
                      secrets or similarly confidential commercial or financial information, or
                      otherwise be inappropriate under the circumstances.
               7.     Disclosure would not violate any person's expectation of confidentiality or
                      privacy.
               8.     The United States is not, and is not reasonably anticipated to be, a party in
                      this litigation.
See 32 C.F.R. §§ 97.6(b)(1)-(6); 32 C.F.R. §§ 516.41(d), 516.44; Navy Instruction 5280.8A(1)-
(10); Department of Defense Directive 5405.2 § 6.2; 33 C.F.R. § 1.20-1; 6 C.F.R. § 5.45; Air Force
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Instruction 51-301, 9.5.1-9.5.6.

V.     Administrative Matters
         Defendants will bear the costs of duplicating and producing the documents sought by this
Touhy request. Costs will be paid by check or money order payable to the Treasury of the United
States. For ease of production, all electronically stored information can be produced via a secure
file transfer protocol site that will be provided free of charge or via electronic storage media that
will be provided to you at no charge and upon your request. Any requests for assistance with the
transmittal of electronically stored documents, or coordination of the inspection of documents
should be made to Mark Nomellini, counsel for Defendants, at (312) 862-2410 or
mnomellini@kirkland.com. Additionally, to the extent the VA believes any of the requested
information does not implicate the statutory considerations set forth above, Defendants are willing
to work with the VA to narrow the scope of the request.
        If you anticipate that full production will require more than ten (10) days from the date of
service, we request that you notify the parties and/or the Court. Should you have any questions or
require additional information about this Touhy request, please do not hesitate to contact me.
Thank you for your assistance.
                                                      Sincerely,

                                                      Mark J. Nomellini

                                                      Mark J. Nomellini


cc:    Robert Wald
       robert.e.wald.mil@mail.mil

       Jacqueline Snead
       jacqueline.snead@usdoj.gov

       Joshua Kolsky
       joshua.kolsky@usdoj.gov

       Counsel for Plaintiff Dustin McCombs
       Plaintiff Co-Lead and Co-Liaison Counsel
       Discovery and ESI Subcommittee
       Jennifer Hoekstra
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         SCHEDULE A
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                                          SCHEDULE A

               DEFENDANTS’ REQUESTS FOR PRODUCTION OF DOCUMENTS

          Pursuant to Rule 45 of the Federal Rules of Civil Procedure, Defendants 3M Company,

3M Occupational Safety LLC, Aearo Holding LLC, Aearo Intermediate LLC, Aearo LLC, and

Aearo Technologies LLC (collectively, “Defendants”), by and through their counsel, hereby

request that you produce documents responsive to these Requests for Production of Documents

(the “Requests”) to Defendants in the time and manner set forth in this Subpoena and, to the extent

feasible, in accordance with the production specifications set forth in Section I of Pretrial Order

No. 10.

                                          DEFINITIONS

          1.     “Communications” as used in the requests below includes any transmission or

exchange of information, ideas, facts, data, proposals, or other matters, between or among Persons,

by any means. For example, communications would include text messages (short message service

(SMS) and multimedia message service (MMS)), or any messaging application (e.g., WhatsApp,

Facebook Messenger). The definition also includes Documents evidencing oral communications.

          2.     “Document” or “documents” as used below includes hard copy documents as well

as electronically stored information.

          3.     “Hearing Protection Device” means any earplug, earmuff, or other device that can

be inserted in to the ear canal, placed on the outer ear, or placed over the outer ear for purposes of

hearing protection.

          4.     The terms “you” and “your” shall refer to James Davis.
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                                          INSTRUCTIONS

       1.      The preceding Definitions apply to these Instructions and each of the succeeding

Requests. All terms defined above shall have the meanings set forth therein, whether capitalized

in the Requests or not.

       2.      You are required to produce all responsive documents in your possession, custody,

or control, wherever located, including but not limited to electronic sources, such as:

               (a)        any of your email accounts (e.g., Gmail, Yahoo, and Hotmail);

               (b)        any of your computers (e.g., desktop or laptop computers);

               (c)        any of your mobile and handheld electronic devices (e.g., smartphones,
                          computer tablets, portable music players, and digital cameras);

               (d)        any of your other hardware storage devices (e.g., external hard drives,
                          network storage drives, memory cards, USB flash (“thumb”) drives, and
                          CDs/DVDs);

               (e)        any messaging applications you use (e.g., text messages, iMessage,
                          Facebook Messenger, WhatsApp, Telegram, and Snapchat);

               (f)        any social media accounts/platforms you use (e.g., Facebook, Instagram,
                          LinkedIn, Twitter, MySpace, YouTube, Pinterest, or other online
                          collaboration tools such as Google+ or Yahoo! groups);

               (g)        any website where you have made online postings (e.g., Reddit, Tumblr,
                          and other blog or message boards); and

               (h)        any cloud storage you use (e.g., DropBox, Microsoft Office365 Account,
                          Google Drive, iCloud, and Amazon Drive).

       3.      If you cannot comply with any Request in full, you must comply to the fullest extent

possible, and you should provide an explanation as to why full compliance is not possible.

       4.      If any document called for by these Requests has been destroyed or discarded, you

must identify that document in writing by providing the following information:              (a) any

sender/author and any addressee; (b) any indicated or blind copies; (c) the document’s date, subject

matter, number of pages, and attachments or appendices; (d) all Persons to whom the document



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was distributed, shown, or explained; (e) its date of destruction or discard, manner of destruction

or discard, and reason for destruction or discard; (f) the Persons who authorized and carried out

such destruction or discard; and (g) whether any copies of the document presently exist and, if so,

the name of the custodian of each copy.

        5.      If no document exists that is responsive to a particular Request, you must state so

in writing.

        6.      Defendants request that you produce all photographs, films, movies, and video

recordings as native files, in their original resolution and file size.

        7.      You may avail yourself of Pretrial Order No. 9 when producing documents in

response to these requests.

                                REQUESTS FOR PRODUCTION

        1.      Written policies and procedures used or distributed from 2007 to 2009 at Fort

Benning related to hearing protection and hearing protection devices.

        2.      PowerPoint presentations or other documents related to presentations made to

service members regarding hearing protection and hearing protection devices, including the

CAEv2s.

        3.      Written policies and procedures related to military audiological evaluations.

        4.      Written policies and procedures related to the selection, distribution, fitting, and

training for hearing protection devices.

        5.      Documents that contain recommendations and/or guidelines for specific hearing

protectors to be worn when using specific weapons or when encountering specific noise

exposures.

        6.      Documents and training materials regarding the proper use, fit, maintenance,

and/or care of hearing protection materials include the CAEv2, including but not limited to


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presentations, slide decks, computerized tutorials, on-line instructions, printed instructions,

pamphlets, or memoranda.




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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS                          Case No. 3:19md2885
 EARPLUG PRODUCTS
 LIABILITY LITIGATION
                                                Judge M. Casey Rodgers
 This Document Relates to All Cases             Magistrate Judge Gary R. Jones


                          PRETRIAL ORDER No. 9
                     STIPULATED ORDER GOVERNING
                    CONFIDENTIALITY AND PRIVILEGE
      Plaintiffs and Defendants 3M Company, Aearo Technologies LLC, Aearo

Holding LLC, Aearo Intermediate LLC, and Aearo LLC (collectively “Defendants”)

anticipate that documents, testimony, or information that are protected by the

attorney-client privilege or work product doctrine or that contain or reflect

confidential, proprietary, trade secret and/or commercially sensitive information

could be requested, disclosed or produced during the course of discovery, initial

disclosures, and/or supplemental disclosures in this litigation and therefore request

that the Court enter this Order setting forth the conditions for treating, obtaining, and

using such information.

      Pursuant to Federal Rule of Civil Procedure 26(c) and its inherent authority,

the Court hereby orders the entry of the following Order Governing Confidentiality

and Privilege (“Order” or “Protective Order”) in this matter:
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I.     PURPOSES AND LIMITATIONS

       A.     Disclosure and discovery activity in this action could involve requests

 for and production of certain privileged, confidential, proprietary, or private

 information, provided from this or related litigation(s), for which special protection

 from public disclosure and from use for any purpose other than prosecuting this

 litigation may be warranted. Accordingly, the Parties hereby stipulate to and petition

 the Court to enter this Order. The Parties acknowledge that this Order governs

 discovery in In re: 3M Combat Arms Earplug Products Liability Litigation, Case

 No. 3:19-md-2885. This Order shall apply to all cases currently pending in MDL

 No. 2885 and to all related actions that have been or will be originally filed in,

 transferred to, or removed to this Court and assigned hereto.

       B.     This Order is binding on all Parties and their counsel in all cases

 currently pending or subsequently made part of these MDL proceedings and shall

 govern each case in the proceedings. The purpose of this Order is to expedite the

 flow of discovery material, facilitate the prompt resolution of disputes over

 confidentiality and privilege, and protect material to be kept confidential or

 privileged, pursuant to the Court’s inherent authority, its authority under Federal

 Rule of Civil Procedure 26(c) and Federal Rule of Evidence 502(d), and the judicial

 opinions interpreting such Rules.




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      Case
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        C.       The Parties also acknowledge that this Order does not confer blanket

  protections on all disclosures or responses to discovery and that the protection it

  affords from public disclosure and use extends only to the information or items that

  are entitled to confidential treatment under the applicable legal principles. The

  Parties further acknowledge that this Order creates no entitlement to file

  Confidential Information under seal.

        D.       This Order shall not abrogate or diminish any contractual, statutory, or

  other legal obligation or right of any party or person with respect to any Confidential

  Information.

        E.       The recipient of any Confidential Information hereby agrees to subject

  himself/herself to the jurisdiction of this Court for the purpose of any proceedings

  related to the performance under, compliance with, or violations of this Order.

II.     PROCEEDINGS AND FORM OF INFORMATION GOVERNED
        A.       This Order shall govern any document, information, or other thing

  which is designated as containing “Confidential Information,” as defined herein, and

  is furnished by any party in this MDL in which various plaintiffs allege that 3M

  Combat Earplugs (Combat Arms Earplugs Version 2, “CAEv2”) caused total or

  partial hearing loss in one or both ears, tinnitus, and other related effects.

        B.       The form of information protected includes, but is not limited to,

  documents and things, responses to requests to produce documents or other things,


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   interrogatories, responses to interrogatories, requests for admissions, responses to

   requests for admissions, and responses to subpoenas, deposition testimony, and

   exhibits, and all copies, extracts, summaries, compilations, designations, and

   portions of the foregoing.

           C.    For purposes of this Order, “document” shall be accorded its broadest

   possible meaning, and shall include, without limitation, the whole page or file or any

   portion thereof of any written, printed or graphic matter, and any computer file,

   record or tape produced by or obtained from any party or non-party, any

   electronically stored information, or any copy, extract, or complete or partial

   summary prepared therefrom, and any document or thing covered by Fed. R. Civ. P.

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III.       DEFINITIONS

           A.    Action: In re: 3M Combat Arms Earplug Products Liability Litigation,

   Case No. 3:19-md-2885, presently pending in the Northern District of Florida.

           B.    Party: Any party to this Action, including Plaintiffs, 3M Company,

   Aearo Technologies LLC, Aearo Holding LLC, Aearo Intermediate LLC, and Aearo

   LLC, including all of their officers, directors, employees, and Counsel (and their

   support staff).

           C.    Discovery Material: All items or information, regardless of the medium

   or the manner in which it is generated, stored or maintained (including, but not


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limited to, those set forth in Section 2.2), that is produced or generated in disclosures

or responses to discovery in this matter.

      D.       Confidential Information or Items:       Any disclosure or Discovery

Material that the Producing Party designates as “CONFIDENTIAL.” The Producing

Party may designate as “CONFIDENTIAL” Discovery Material that the Producing

Party reasonably believes constitutes, reflects, discloses, or contains (i) trade secret

or other confidential research, development, or commercial information subject to

protection under Federal Rule of Civil Procedure 26(c); (ii) material protected by

federal, state, or foreign data protection laws or other privacy obligations subject to

protection under Federal Rule of Civil Procedure 26(c); or (iii) other information

subject to protection under Federal Rule of Civil Procedure 26(c).

      E.       Outside Counsel of Record: Attorneys who are not employees of a

Party but retained to represent or advise a party to the Action and have appeared on

the pleading as counsel for a Party in this Action or who are affiliated with or

contracted by law firms who have appeared on the pleading as counsel for a Party in

this Action.

      F.       In-House Counsel: Attorneys who are employees of a Party.

      G.       Counsel (without qualifier): Outside Counsel of Record and In-House

Counsel (as well as their support staff).




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      H.     Designating Party: A Party that designates information or items that it

produces in disclosures or in responses to discovery as “CONFIDENTIAL.”

      I.     Expert: A person with specialized knowledge or experience in a matter

pertinent to the litigation who has been retained by a Party or its Counsel to serve as

an expert witness or consultant in this MDL.

      J.     Non-Party: Any natural person, partnership, corporation, association,

or other legal entity not named as a Party to this MDL.

      K.     Professional Vendors:      Persons or entities that provide litigation

support services (e.g., document and ESI processing, hosting, review, and

production, photocopying, videotaping, translating, preparing           exhibits    or

demonstrations, and organizing, storing, or retrieving data in any form or medium)

and their employees and subcontractors.

      L.     Receiving Party:      A Party that receives Disclosure or Discovery

Material from a Producing Party.

      M.     Producing Party: A Party or non-Party that provides, produces, or

makes available for inspection Disclosure or Discovery Material in the course of this

Action.




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IV.        TYPES OF MATERIALS THAT MAY BE DESIGNATED
           “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER”

           A.    A Party may designate any portion of Discovery Material (as defined

  in Section 3.3 above) as “Confidential – Subject to Protective Order” as permitted

  herein (see Section 3.4 and Section 3.5 above).

           B.    Confidential Information shall include any Discovery Material that the

     designating party reasonably and in good faith believes not to be in the public

     domain and to contain materials defined as Confidential (see Section 3.4 above).

V.         ACCESS TO AND USE OF INFORMATION DESIGNATED AS
           “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER”

           A.    If a Party reasonably and in good faith believes that information

  produced in these actions contains Confidential Information, that Party shall

  designate the information as “Confidential – Subject to Protective Order” as

  appropriate.

           B.    Access to information marked “Confidential – Subject to Protective

  Order” shall be limited to, and only to, the following “qualified persons”:

                 a.     The Parties listed in Paragraph III.B, including the employees
                        and staff of such Parties;

                 b.     the Receiving Party’s Outside Counsel of Record in this MDL
                        and, if the attorney of record is a member of a law firm, the
                        employees and staff of the law firm (collectively “Outside
                        Counsel”);

                 c.     Special Masters, professional jury or trial consultants, mock
                        jurors, and Professional Vendors to whom disclosure is
                        reasonably necessary for purposes of the Action;
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             d.    Experts and consultants (including both testifying and non-
                   testifying experts), who shall be informed of the existence and
                   contents of this Protective Order;
             e.    The Court, its personnel, and any court reporters, stenographers,
                   and videographers involved in taking or transcribing testimony
                   in these actions;

             f.    Mediators and their staff enlisted by the parties to assist in the
                   resolution of this matter;

             g.    A person identified in the document marked “Confidential –
                   Subject to Protective Order” as an author, source, addressee, or
                   recipient of the communication or document, or who already has
                   a copy of the document marked “Confidential – Subject to
                   Protective Order”;
             h.    A deponent or witness at a deposition or pre-trial hearing; and

             i.    Such other persons as hereafter may be designated by written
                   agreement in these actions or by order of the Court.
      C.     Nothing in this Order shall preclude a Party from introducing into

evidence at an evidentiary hearing, motion hearing, or trial any Confidential Material

that is admissible under applicable law, subject to the provisions of this Order.

      D.     The designation of information as “Confidential – Subject to Protective

Order” shall be made at the following times:

             a.    For documents and things, at the time of the production of the
                   documents or things.
             b.    For written responses to interrogatories or requests for
                   admissions, at the time of the written response;

             c.    For deposition testimony and exhibits, at the time of the
                   testimony or within 30 days after receipt by the designating Party
                   of the final transcript of the deposition.


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  E.    The designation of Confidential Information shall be made as follows:

        a.    For documents, by placing a conspicuous legend on each page or
              portion of such document entitled to such protection, reading
              “Confidential – Subject to Protective Order” as appropriate;

        b.    For tangible objects, by placing a label or tag on the object or the
              container therefore, or if not practicable, as otherwise agreed;

        c.    For written responses to any individual interrogatory or
              individual request for admission, in writing in the text of the
              individual response thereto;

        d.    Deposition testimony and the transcripts and video recordings
              thereof obtained during pretrial discovery shall be treated as
              “Confidential Subject to Protective Order” for a period of 30
              days, or as many days as the parties shall agree, after receipt of
              the final deposition transcript to allow time for the deponent or
              counsel for the deponent, or any party or counsel to any party, to
              notify all Parties of any Confidential Information contained
              therein. Such Confidential Information contained in deposition
              testimony may be designated by any party, within 30 days of
              receipt of the final deposition transcript, by page and line
              number, and video cassettes, DVDs, or other storage media shall
              be labeled in accordance with the provisions of this Order. The
              court reporter shall include on the cover page of each deposition
              a clear indication that the deposition contains Confidential
              Information. Any document designated as “Confidential –
              Subject to Protective Order” that is marked as an exhibit in any
              deposition shall be treated according to the designation of that
              document prior to the deposition.                The foregoing
              notwithstanding—except pursuant to a separate written
              agreement between the Parties, or order of the Court, or in an
              official judicial proceeding—no Party shall, under any
              circumstances, release, make public, or cause to be made public
              any portion of any deposition video recording or audio recording
              of any video deposition related to MDL 2885, whether
              designated for confidentiality or undesignated. Prohibited
              publication extends to distribution of such deposition recordings
              via the Internet and/or on any social media sites, including but
              not limited to, YouTube, Facebook, Twitter, or Instagram.
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VI.         FILING CONFIDENTIAL INFORMATION OR ITEMS /FILING
            UNDER SEAL

            A.    Without written permission from the Designating Party or a court order,

   a Party may not file any Confidential Information into the public record as part of

   these Actions. All Parties shall make reasonable efforts to avoid requesting the filing

   of Confidential Information under seal by, for example, redacting or otherwise

   excluding from a submission to the Court any such Information not directly pertinent

   to the submission. Where not reasonably possible, any Party wishing to file a

   document or paper containing Confidential may provisionally file such Information

   under seal, provided that the Designating Party then moves to seal within seven (7)

   days of the filing, explaining the bases for sealing the Information in question.

   Failure to file a motion to seal will result in the Information being filed publicly.

   While any motion to seal is pending, the document or paper containing Confidential

   Information shall remain under seal provisionally.

            B.    The provisions of this Protective Order do not apply to any hearings or

   trial proceedings in this Action. The Parties will separately request the Court to enter

   an Order governing the handling of such materials at hearing or at trial.

VII.        INADVERTENT PRODUCTION OF SUBSEQUENTLY CLAIMED
            PRIVILEGED INFORMATION

            A.    The production of privileged or work-product protected Discovery

      Material (“Disclosed Protected Information”) in this MDL, whether inadvertent or


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otherwise, is not a waiver of the privilege or protection from discovery in this case

or in any other federal or state proceeding. This Protective Order shall be interpreted

to provide the maximum protection allowed by Federal Rule of Evidence 502(d).

Nothing contained herein is intended to, or shall serve to limit a Party’s right to

conduct a review of any Discovery Material for relevance, responsiveness, and/or

segregation of privileged and/or protected information before production.

Additionally, the inadvertent production of Discovery Material without an

appropriate designation of confidentiality shall not be deemed a waiver or

acknowledgment as to the confidentiality of any inadvertently produced document

and any related material.

      B.     Upon discovery that a document has been produced, which it believes

to contain privileged and/or work product material, the Producing Party must notify

the Receiving Party within 30 days, in writing, asserting either the attorney-client

privilege or work product protection with respect to Disclosed Protected

Information. The written notice of the recall of privileged material shall be

accompanied by a log articulating the privilege basis for each privileged document.

      C.     The Receiving Party must—unless it contests the claim of attorney-

client privilege or work product protection in accordance with paragraph VII.D—

within five business days of receipt of that writing and, to the extent applicable, any

replacement media containing a reproduction of the documents that formerly


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included (and now omits) the purportedly privileged or protected document: (i)

return or destroy all copies of the Disclosed Protected Information and (ii) provide

a certification of counsel that all of the Disclosed Protected Information has been

returned or destroyed. Within five business days of receipt of the notification that

the Disclosed Protected Information has been returned or destroyed, the Producing

Party must produce a privilege log with respect to the Disclosed Protected

Information, articulating the privilege basis for each privileged document.

      D.     If the Receiving Party contests the claim of attorney-client privilege or

work product protection, the Receiving Party must—within ten business days of

receipt of the claim of privilege or protection—move the Court for an Order

compelling disclosure of the Disclosed Protected Information (a “Disclosure

Motion”). The Receiving Party must seek to file the Disclosure Motion under seal

and must not assert as a ground for compelling disclosure the fact or circumstances

of the disclosure, and may not disclose, rely on, or refer to any of the Disclosed

Protected Information. Pending resolution of the Disclosure Motion, the Receiving

Party must sequester the Disclosed Protected Information and not use the Disclosed

Protected Information or disclose it to any person other than as required by law.

      E.     Disclosed Protected Information that is sought to be reclaimed by the

Parties to this case pursuant to this Order shall not be used as grounds by any third




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    party to argue that any waiver of privilege or protection has occurred by virtue of

    any production in this case.

          F.     Should any motion compelling production of the Disclosed Protected

    Information be filed, the Producing Party shall retain the burden of establishing its

    privilege or work product claims. Nothing in this paragraph shall limit the right of

    any Party to petition the Court for an in camera review of the Disclosed Protected

    Information. Nothing in this Order shall relieve counsel for any Receiving Party of

    any existing duty or obligation, whether established by case law, rule of court,

    regulation or other source, to return, and not to review, any privileged or work

    product materials without being requested by the Producing Party to do so.

VIII.     RESOLUTION OF DISPUTES REGARDING DESIGNATION OF
          “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER”
          INFORMATION

          A.     If any Party disagrees with the designation of any Discovery Material

    as “Confidential – Subject to Protective Order,” that Party will provide written notice

    to all other Parties to these actions, and the Parties will attempt first to resolve the

    dispute on an informal basis before presenting the dispute to the Court. All items

    objected to shall continue to be treated as initially designated by the designating

    Party pending resolution of the parties’ dispute. If the dispute can be resolved, all

    Parties shall promptly be informed of the resolution.




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      B.     If the dispute cannot be resolved informally, the designating Party shall

file a motion with the Court seeking an order that the Confidential Information

subject to the dispute remain confidential. The designating Party bears the burden

of persuading the Court that the information is in fact “Confidential – Subject to

Protective Order” within the definition of that term set forth above. Failure of the

designating Party to file such a motion within 30 days from receipt of the written

notice waives the designating Party’s designation on the subject Discovery Material.

      C.     Entering into, agreeing, and/or complying with the terms of this Order

shall not: (a) operate as an admission by any Party that any particular documents,

material, or information contain(s) or reflect(s) currently valuable trade secrets or

proprietary or commercial information; or (b) prejudice in any way the right of a

Party at any time: (i) to seek a determination by the Court of whether any particular

document, item of material or piece of information should be subject to the terms of

this Order; (ii) to seek relief on appropriate notice from any provision(s) of this

Order, either generally or as to any particular document, item or piece of

information; (iii) to object to any discovery request, including the right to assert that

no discovery should be had of certain documents or information; or (iv) to seek

documents or other information from any source.




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IX.         REDACTIONS

            A.       To comply with all applicable state, federal, and extraterritorial laws

  and regulations, the Producing Party may redact from produced documents,

  materials, and other things information that it is not permitted by such laws and

  regulations to disclose in litigation even with Court-imposed confidentiality

  restrictions.

            B.       Pursuant to 21 C.F.R. §§ 314.430(e) & (f) and 20.63(f), the names of

  any person or persons reporting adverse experiences of patients and the names of

  any patients that are not redacted shall be treated as Confidential, regardless of

  whether the document containing such names is designated as Confidential

      Information.

            C.       Notwithstanding any of the foregoing provisions, nothing contained

      herein shall be construed as a waiver of a Party’s ability to challenge such redactions.

      The burden as to the propriety of any redaction remains on the Producing Party at

      all times.

X.           PRIVILEGE LOG PRODUCTION
             A.      Unless otherwise provided in this Protective Order or as otherwise

      agreed by the parties, any document falling within the scope of any request for

      production or subpoena that is responsive to the search criteria required by the Order

      for Preservation and Production of Documents and Electronically Stored


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Information (including custodians, search terms, and date ranges) and that is

withheld on the basis of a claim of attorney-client privilege, work product, or any

other claim of privilege or immunity from discovery is to be identified by the

Producing Party on a cumulative privilege log,1 which the Producing Party shall

produce in an Excel format with separate categories of information sufficient to

describe the nature of the documents, communications or tangible things withheld

as to enable the receiving party to access the claims of privilege, including Custodial

Source, To, From, Carbon Copy, Date, reason for privilege or immunity and a

description sufficient to meet the requirement of Rule 26. The privilege log shall

also identify the production date of the document, or the production wave associated

with the document. Individuals who are In-House Counsel or Outside Counsel of

Record shall be noted, and the name of the law firm or entity employing such

Counsel shall be identified. Privilege log production shall be phased such that

substantially all documents withheld from a production pursuant to an attorney-

client, work product, or other applicable privilege or immunity, shall be identified

on a privilege log, which shall be provided by the Producing Party no later than thirty

(30) days after the date of service of a custodial production from which the document




1   The most current privilege log tendered by a party shall include the information noted in this subsection
regarding documents withheld from that party’s most recent production together with such information regarding
documents withheld from all prior productions.

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  was withheld. No privilege log need be provided in connection with any production

  of documents and depositions from the qui tam action.

        B.     Privilege log identification is not required for post-December 24, 2018

  communications specific to the proceedings herein exchanged between the

  Producing Party and their Counsel or among counsel for the Producing Party. In

  addition, neither communications between or among Counsel for Plaintiffs nor

  communications between or among Counsel for Defendants are required to be

  identified on the Producing Party’s privilege log.

XI.     REQUEST FOR DOCUMENTS OR INFORMATION SUBJECT TO
        THIS ORDER IN ACTIONS OTHER THAN THIS MDL

        A.     If any Party has obtained Confidential Information under the terms of

  this Protective Order and receives a subpoena or other compulsory process

  commanding the production of such Confidential Information, such party shall

  promptly notify the designating Party, including in such notice the date set for the

  production of such subpoenaed information along with copies of the requests,

  subpoena, or order. The subpoenaed party shall not produce any Confidential

  Information so received in response to the subpoena prior to the date specified for

  production in the subpoena unless in response to an order of a court of competent

  jurisdiction (other than the subpoena or other compulsory process) compelling the

  subpoenaed party to produce the Confidential Information. The party subject to

  subpoena or compulsory process, however, shall have no duty to appear or resist any

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   application or motion seeking to compel production of such Confidential

   Information.

XII.     PARTY’S OWN INFORMATION

         A.       The restrictions on the use of Confidential Information established by

   this Protective Order are applicable only to the use of Confidential Information

   received by a Party from another Party or from a non-party. A Party is free to do

   whatever it desires with its own Confidential Information, provided that any

   dissemination of Confidential Information by the Party that owns the Confidential

   Information may lead to the loss of that information’s confidential status.

         B.       Nothing herein shall impose any restrictions on the use or disclosure by

   a Party or witness of documents, material or information obtained by such Party or

   witness independently of the discovery proceedings in these actions, whether or not

   such documents, material or information are also obtained through discovery

   proceedings in these actions.

         C.       Nothing in this Order shall preclude outside counsel of record in prior

   related proceedings (3M Company v. Moldex-Metric, Inc., No. 12-611 (D. Minn.);

   Moldex-Metric, Inc. v. 3M Innovative Properties Company, No. 14-1821 (D .Minn.);

   and United States ex rel. Moldex-Metric, Inc. v. 3M Company, No. 3:16-cv-01533-

   MBS (D.S.C.)) from sharing with Outside Counsel of Record in this Action work




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    product they created in connection with Confidential Information produced both in

    this action and in one or more of the prior related proceedings enumerated above.

XIII.     APPLICABILITY OF ORDER TO THIRD PARTIES

          A.     In the course of these actions, the Parties may attempt to discover

    documents and information from Third Parties. Any Third Party from whom

    discovery is sought by the Parties may avail itself upon the protections and

    limitations of disclosure provided for in this Order by signing this order prior to

    production. The Third Party shall identify any Confidential Information produced

    in accordance with this Order. By so availing itself of the protections and limitations

    provided for in this Order, any such Third Party shall submit to the jurisdiction of

    the Court for all matters relating to or arising out of this Order.

          B.     The Parties hereby agree to treat any material properly designated

    Confidential produced by a Third Party in accordance with the terms of this Order.

    The Parties shall reference this Order in any subpoena or discovery request they

    serve or otherwise provide to any Third Party.

XIV.      VIOLATIONS
          A.     In the event that any person or party violates the terms of this Protective

    Order, the aggrieved Producing Party should apply to the Court to obtain relief

    against any such person or party violating or threatening to violate any of the terms

    of this Protective Order. In the event that the aggrieved Producing Party seeks


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      injunctive relief, it must direct the petition for such relief to this Court. To the extent

      the same document or categories of documents are at issue in both the above-

      captioned MDL 2885 and in any Related Litigation, the Parties will attempt first to

      resolve the issue in the MDL and before this Court. The Parties and any other person

      subject to the terms of this Protective Order agree that this Court shall retain

      jurisdiction over it and them for the purpose of enforcing this Protective Order.

XV.         MODIFICATION OF THIS PROTECTIVE ORDER
            A.     This Protective Order shall remain in force and effect until modified,

      superseded, or terminated by order of the Court made upon reasonable written

      notice. Unless otherwise ordered, or agreed upon by the Parties, this Protective

      Order shall survive the termination of this action. The Court retains jurisdiction even

      after termination of this action to enforce this Protective Order and to make such

      amendments, modifications, deletions, and additions to this Protective Order as the

      Court may from time to time deem appropriate.


      SO ORDERED:




      M. Casey Rodgers                                 Dated: June 17, 2019
      M. CASEY RODGERS
      UNITED STATES DISTRICT JUDGE



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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF FLORIDA
                                 PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS EARPLUG                       Case No. 3:19md2885
 PRODUCTS
 LIABILITY LITIGATION
                                                     Judge M. Casey Rodgers
 This Document Relates to All Cases                  Magistrate Judge Gary R. Jones


                                   PRETRIAL ORDER NO. 10
                ORDER GOVERNING PRODUCTION OF DOCUMENTS AND
                    ELECTRONICALLY STORED INFORMATION

           The following Order governs the production of documents and electronically stored

information (“ESI”) and shall apply to all discovery of ESI and hard copy documents in this case,

unless the Parties agree in advance and in writing or if this Order is modified by the Court.

           Except as specifically set forth herein, this Order does not: (a) alter or affect the

applicability of the Federal Rules of Civil Procedure (“Federal Rules”) or any Local Rules of the

U.S. District Courts (“Local Rules”), as applicable; (b) address, limit, determine, or affect the

relevance, discoverability, or admissibility as evidence of any document or ESI, regardless of

whether the document or ESI is to be preserved, is preserved, or is produced; or (c) alter or affect

the objections to discovery available under the Federal Rules. The purpose of this Order is to

facilitate the exchange of ESI and hard copy documents in an efficient manner and in accordance

with the Federal Rules. By stipulating to this Order and agreeing to produce documents, generally,

in a particular form or forms, no Party waives any objections to producing any particular document

or category of documents on any grounds whatsoever.

      I.          Format for Defendants’ Productions

           The following section governs the production of documents and electronically stored

information (“ESI”) by 3M Company, Aearo Technologies LLC, Aearo Holdings, LLC, Aearo
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Intermediate, LLC, Aearo, LLC, and any of their related or affiliated entities or individuals named

as defendants herein (collectively, “Defendants”), and shall apply to all discovery of ESI and hard

copy documents by Defendants in this case, unless the Parties agree in advance and in writing or

if this Order is modified by the Court.

               (a)     File Types and Formats. All spreadsheet (e.g., Microsoft Excel, Corel

       Quattro, etc.) files shall be produced as native files with TIFF placeholder images. All

       word processing (e.g., Microsoft Word), presentation (e.g., Microsoft PowerPoint), image

       (e.g., .jpg, .gif), and PDF files shall be produced as native files with TIFF placeholder

       images where reasonably possible, unless redactions are required, in which case such files

       shall be produced as TIFFs. All media files, such as audio and video files, shall be

       produced as native files with TIFF placeholder images. Emails shall be produced as TIFFs.

       The Parties will meet and confer on the production of other file types, such as CAD

       drawings, GIS data, materials and prototypes testing, etc. In advance of depositions, the

       Parties reserve the right to produce TIFF versions of any previously produced native file at

       their discretion.

               (b)     Native Files. Any document produced in native file format shall be given a

       file name consisting of a unique Bates number and, as applicable, a confidentiality

       designation; for example, “ABC00000002_Confidential.” For each native file produced,

       the production will include a *.tiff image slipsheet indicating the production number of the

       native file and the confidentiality designation, and stating “File Provided Natively.” To

       the extent that it is available, the original document text shall be provided in a document-

       level multi-page UTF-8 with BOM text file with a text path provided in the *.dat file;

       otherwise the text contained on the slipsheet language shall be provided in the *.txt file




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     with the text path provided in the *.dat file. Native files will be produced in a separate

     folder on the production media. Where redaction makes production of native-format files

     other than spreadsheets infeasible, the Parties will confer to determine a reasonably usable

     form for the production.

            (c)     TIFF Images. Any document produced as TIFF images shall be named

     according to the Bates number of the corresponding TIFF image. Each *.tiff file should be

     assigned a unique name matching the Bates number of the corresponding image. All TIFF

     images should be provided in single-page, Group IV TIFF with a resolution of 300 DPI.

     Bates numbers and confidentiality designations should be electronically branded on each

     produced *.tiff image. These *.tiff images should be provided in a separate folder and the

     number of TIFF files per folder should be limited to 1,000 files.

            (d)     Digital Photos. Where reasonably possible, all digital photographs will be

     produced as full color image files in their native file format at their original resolution.

            (e)     Databases, Structured, Aggregated or Application Data. The Parties will

     meet and confer to address the production and production format of any responsive data

     contained in a database or other structured or aggregated data source or otherwise

     maintained by an application. The Parties will reasonably cooperate in the exchange of

     information concerning such databases to facilitate discussions on productions and

     production format. If the Parties cannot reach agreement, the matter will be decided by the

     Court or its designee.

            (f)     Hard Copy Documents. Documents that exist in hardcopy will be scanned

     to *.tiff image format as set forth in Subsection I(c) above. Defendants’ hard copy

     documents that are not text-searchable shall be made searchable by OCR prior to




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       production where possible. In scanning paper documents, distinct documents should not be

       merged into a single record, and single documents should not be split into multiple records

       (i.e., paper documents should be logically unitized 1).      In the case of an organized

       compilation of separate documents (for example, a binder containing several separate

       documents behind numbered tabs), the document behind each tab should be scanned

       separately, but the relationship among the documents in the compilation should be reflected

       in the proper coding of the beginning and ending document and attachment fields.

       Defendants will make their best efforts to unitize the documents correctly.

                (g)    De-NISTing. Electronic files will be De-NISTed, removing commercially

       available operating system and application file information contained on the current NIST

       file list.

                (h)    Deduplication. Defendants shall make reasonable efforts to de-duplicate

       ESI. ESI produced by Defendants shall be globally de-duplicated across all collected

       custodial and non-custodial sources. Documents are considered exact duplicates if a

       document family or stand-alone file has a matching MD5 or SHA-1 hash value as

       compared against the same document type (i.e., family or stand-alone file). Hash values of

       emails will be calculated on the concatenated values of at least the following fields: From,

       To, CC, BCC, Subject, Date Sent, Time Sent, Attachment Names, Body, and the hash

       values of all attachments. The names of all custodians and non-custodial sources who were

       in possession of a document prior to deduplication will be populated in the ALL



1
    Logical Unitization is the process of human review of each individual page in an image
    collection using logical cues to determine pages that belong together as documents. Such cues
    can be consecutive page numbering, report titles, similar headers and footers, and other logical
    indicators.


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       CUSTODIANS metadata field. The original file paths of a document prior to deduplication

       will be populated in the ALL FILE PATHS 2 metadata field.

               (i)     Embedded Files. Embedded files, except for images embedded in emails,

       are to be produced as family groups. Embedded files should be assigned Bates numbers

       that directly follow the Bates numbers on the documents within which they are embedded.

               (j)     Dynamic Fields. Documents with dynamic fields for file names, dates, and

       times will be processed to show the field code (e.g., “[FILENAME]”), rather than the

       values for such fields existing at the time the file is processed.

               (k)     Parent-Child Relationships.         For email families, the parent-child

       relationships (the association between emails and attachments) should be preserved. Email

       attachments should be consecutively produced with the parent email record.

               (l)     Time Zone. All provided metadata pertaining to dates and times will be

       standardized to UTC.

               (m)     Bates Numbering.        Bates numbering should be consistent across the

       production, contain no special characters, and be numerically sequential within a given

       document. If a Bates number or set of Bates numbers is skipped, the skipped number or

       set of numbers should be noted with a placeholder. Attachments to documents will be

       assigned Bates numbers that directly follow the Bates numbers on the documents to which




2
    ALL FILE PATHS metadata field shall include the original file/folder paths, including file
    name for non-emails, where reasonably available, of all the locations where copies of the item
    were located at the time of collection, separated by semi-colons, in the order corresponding to
    the order of names in ALL CUSTODIANS. For emails collected from container files (e.g.,
    .pst’s), these include the original file paths of the container files and the location of the emails
    within the folder structure of the mail container/.pst from which it was collected, where
    reasonably available.


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     they were attached. In addition, wherever possible, each *.tiff image will have its assigned

     Bates number electronically “burned” onto the image. The Bates number shall:

                    (i)       be consistent across the production;

                    (ii)      contain no special characters; and

                    (iii)     be numerically sequential within a given document.

            (n)     Excluded File Types.         Absent a particularized need and good cause

     showing, the Parties agree that there is no need to collect ESI from the following sources:

                    (i) Deleted, slack, fragmented, or other data only accessible by forensics;

                    (ii) Random access memory (RAM), temporary files, or other data difficult

                            to preserve without disabling the operating system;

                    (iii) On-line access data such as temporary internet files, history, cache,

                            cookies, and the like;

                    (iv) Back-up data that is duplicative of data that can be collected elsewhere;

                            and

                    (v) Server, system, or network logs.

            (o)     Redactions. Other than as permitted by this Order or the order concerning

     confidentiality agreed and/or entered in this litigation, no redactions for relevance may be

     made within a produced document or ESI item. Any redactions shall be clearly indicated

     on the face of the document, with each redacted portion of the document stating that it has

     been redacted and the basis for the redaction, and a metadata field shall indicate that the

     document contains redactions and the basis for the redaction (e.g., “A/C Privilege”).

     Where a responsive document contains both redacted and non-redacted content,




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     Defendants shall produce the remainder of the non-redacted portions of the document and

     the text/OCR corresponding to the non-redacted portions.

                   (i)     Spreadsheets.     Spreadsheet files requiring redaction, including

            Microsoft Excel files, will be redacted within the native file, and the redacted native

            file will be produced as provide herein.

                   (ii)    Other Documents. All native files that require redaction shall first

            be processed to show and reveal all color, comments, revision marks, speaker notes,

            or other user-entered data which are visible in any view of the document in its native

            application, all of which shall be evident in the generated TIFF image(s). Where

            reasonably possible, any occurrences of date/time auto-field items, including in

            headers and footers, will be removed and replaced with the term AUTODATE to

            prevent the current date from being printed. Email header information (e.g. date,

            subject line, etc.) should not be redacted unless it is independently privileged. The

            production of a document in a redacted form does not affect Defendants’ obligation

            to timely assert and substantiate the assertion of privilege over the content in a

            privilege log. Defendants shall honor reasonable requests for the production of

            particular redacted documents in other formats where the TIFF image is not

            reasonably usable. Redacted versions of documents that contained color in their

            un-redacted form shall be produced in color in TIFF format.

            (p)    Load File Formats. ESI will be produced with a standard Concordance

     (*.dat) load file format and an image load file that is in .OPT format. The Concordance

     (*.dat) load file shall be provided with UTF-8 encoding.




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            (q)    Metadata to Be Produced. The metadata fields detailed in Exhibit A should

     be produced for each document to the extent that such information is available or, in the

     case of metadata created during processing such as Bates numbers, created, at the time of

     collection and processing, except that if a field contains privileged information, that

     privileged information may be redacted and noted in a corresponding privilege log.

            (r)    Extracted Text and OCR. Each document, whether produced in Native or

     in TIFF format, and whether originally existing in electronic or in hard copy, shall be

     produced with extracted text or OCR, as described herein.

                   (i)     Extracted Text (Emails, Unredacted Native ESI, and Redacted

            Spreadsheets). All email, un-redacted ESI, and redacted spreadsheets produced as

            native files, should be provided with complete document-level extracted text files.

            Extracted text shall include all comments, revisions, tracked changes, speaker’s

            notes and text from documents with comments or tracked changes, and hidden and

            very hidden worksheets, slides, columns and rows. Text extracted from emails shall

            include all header information that would be visible if the email was viewed in

            Outlook including: (1) the individuals to whom the communication was directed

            (“To”), (2) the author of the email communication (“From”), (3) who was copied

            and blind copied on such email (“CC” and “BCC”), (4) the subject line of the email

            (“RE” or “Subject”), (5) the date and time of the email, and (6) the names of any

            attachments.

                   (ii)    OCR (Redacted Native ESI, Hard Copy Documents). In the event a

            document other than spreadsheets, e.g., Excel files, contains text that is to be

            redacted, Optical Character Recognition (“OCR”) text files should be provided for




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            any un-redacted portions of the documents. Document-level OCR text files shall

            also be provided for all hard copy scanned documents. OCR software must be set

            to the highest quality setting for any previously unscanned paper documents, and

            reasonable quality control measures shall be used to ensure that the integrity of

            scanned copies of previously unscanned paper documents are preserved for OCR

            (e.g., pages are not angled or skewed, text is not blurred or obscured, etc.).

            Documents containing foreign language text must be OCR’d using the appropriate

            settings for that language, (e.g., OCR of German documents must use settings that

            properly capture umlauts and OCR of Asian language documents must properly

            capture the relevant Asian characters). Settings such as “auto-deskewing” and

            “auto-rotation” must be turned on during the OCR process to maximize text

            recognition on any given page.

                    (iii)   Format of Extracted Text and OCR. The extracted full text and/or

            OCR text for all deliverables should be in separate document-level, UTF-8 with

            BOM encoded TXT files provided in a separate folder. The number of TXT files

            per folder should be limited to 1,000 files.

            (s)     Encryption. To maximize the security of information in transit, any media

     or file sharing electronic document repository on which documents are produced must be

     encrypted by Defendants. Production deliverables provided via File Transfer Protocol

     (“FTP”) shall be made available on a secured FTP connection with AES 256-bit

     encryption. All production volumes uploaded by Defendants via this file sharing document

     repository shall remain available for download for no less than thirty (30) calendar days.

     In such cases, the Defendants shall transmit the encryption key or password to a requesting




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         Party, under separate cover, contemporaneously with sending the encrypted media, or

         correspondence indicating the availability of the encrypted FTP deliverables.

   II.          Defendants’ Identification and Classification of Documents

                (a)     Agreement Regarding Technology-Assisted Review.

                        (i)     TAR Cooperation. The Parties acknowledge the benefits of using

         technology-assisted review (“TAR”) technology and methodology, such as predictive

         coding systems, in assisting in the identification of responsive documents. Used properly

         and transparently between the Parties, subject to negotiation, an appropriate and reasonable

         TAR protocol can aid in identifying responsive documents, and do so with maximum

         efficiency.

                        (ii)    TAR Limitations. By agreeing to use TAR in this MDL, Defendants

         do not acknowledge or concede that they are obligated to use TAR in any other matter,

         including, without limitation, earplug-related matters pending in any state courts.

         Moreover, by agreeing to use TAR in this MDL, the Defendants do not intend to waive

         any rights or protections pursuant to privacy, confidentiality, attorney-client privilege,

         attorney work product, and any other privileges, protections, or objections to discovery

         (individually, “Privilege”; collectively, “Privileges”). Defendants preserve all such

         Privileges.

                        (iii)   TAR Protocol. The Parties agree to use TAR to identify and classify

         potentially responsive documents in connection with Defendants’ production. The Parties

         will jointly agree to the TAR system that they propose to use to identify and classify

         documents, and set out their proposed TAR system, workflow and validation processes in

         a separate formal TAR protocol to be agreed upon between the Parties.




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                         (iv)    Meet and Confer. The Parties agree to meet and confer concerning

         the TAR protocol to be used for Defendants’ production, and to submit their joint proposed

         TAR protocol or points of dispute for resolution by the Court within fourteen (14) days of

         the date of the entry of this order.

  III.           Required Production Format for Plaintiffs’ Productions

                 (a)     The Parties anticipate that the production of Plaintiffs’ case-specific

         materials will be the subject of a future Court order. Absent further agreement or order of

         the Court, Plaintiffs’ counsel shall produce case-specific materials in native file format,

         PDF, or such other reasonably useable format that retains the relevant characteristics of the

         original document. Any document that requires redaction shall be produced in image

         format, e.g., TIFF or PDF. All of Plaintiffs’ production documents shall be uniquely named

         and sequentially numbered with Bates Stamps.

                 (b)     For email families in Plaintiffs’ productions, the parent-child relationships

         (the association between emails and attachments) should be preserved, i.e., email

         attachments should be consecutively produced with the parent email record.

                 (c)     To the extent Plaintiffs produce a document other than in native format, and

         Defendants request metadata or other information, the Parties shall reasonably confer about

         an alternative production format for such document, including the necessity for such

         alternative production format. Any such request by a Defendant shall be specific and

         targeted.

  IV.            Provisions Applicable To Both Plaintiffs’ and Defendants’ Productions.

                 (a)     Known Responsive Material Must Be Produced. ESI that is known to

         Plaintiffs’ Counsel or Defendants’ Counsel to be non-privileged and responsive to a




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     discovery request shall be produced without regard to whether it was responsive to a search

     term, of high “relevance” by a TAR text classification algorithm, or otherwise flagged as

     potentially responsive by another search technique, unless Counsel specifically identifies

     the documents as being withheld pursuant to a specific objection.

            (b)     Discrete Document Collections.         Those portions of a Plaintiff’s or

     Defendant’s documents that represent discrete document collections, such as substantially

     relevant folders of ESI specifically segregated by Defendants, Defendants’ employees, or

     Plaintiffs, before or after the commencement of this litigation, that are substantially

     relevant to the claims and defenses in this proceeding, shall be reviewed for responsiveness

     (subject to appropriate claims of privilege) without regard to whether a given document in

     the collection is responsive to a search term, of high “relevance” by a TAR text

     classification algorithm, or otherwise flagged as potentially responsive by another search

     technique.

            (c)     Unsearchable Documents. Documents that are reasonably believed to be

     responsive and for which text-based search technologies are fundamentally ineffective,

     such as images, spreadsheets, etc., must be reviewed without culling by search terms,

     predictive coding, or other technologies that rely primarily on text.

            (d)     Use of Other Technology or Methodology. Prior to use or further use by

     any Party other than as specified within this protocol, the Parties must meet and confer to

     disclose and discuss any proposed use of software or other technologies used to identify or

     eliminate sources of potentially responsive documents, including keyword or Boolean

     searching, file type culling, de-duplication, filtering, near de-duplication, e-mail thread

     suppression, clustering or concept searching. Use of such technologies to reduce the




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        volume of materials to be collected or reviewed, other than as described within this

        document, requires the opposing party’s consent and will be subject to a separate mutually

        agreed-upon stipulation or Order of the Court setting forth the protocol for the use of such

        technologies as negotiated by the Parties.

               (e)     Additional or Alternate Methodologies for Documents from Certain

        Custodians and Non-Custodial Data Sources. The Parties will meet and confer to address

        the need for and implementation of additional or alternate methodologies for identifying

        possibly responsive documents from custodians and non-custodial data sources that may

        warrant such treatment.

               (f)     Mobile and Handheld Device Documents and Data. If responsive data that

        can reasonably be extracted and produced in the formats described herein is identified on

        a mobile or handheld device, that data shall be produced in accordance with the generic

        provisions of this protocol. To the extent that responsive data identified on a mobile or

        handheld device is not susceptible to normal production protocols, the Parties will meet

        and confer to address the identification, production, and production format of any

        responsive documents and data contained on any mobile or handheld device.

   V.          Parties’ Agreed-Upon Early Production of Documents

               (a)     Documents Produced by Defendants in Prior Proceedings. Documents

        produced by any Defendant herein in 3M Co. v. Moldex-Metric, Inc., Cause No. 12-611

        (D. Minn.); Moldex-Metric, Inc. v. 3M Innovative Properties Company, Cause No. 14-1821

        (D .Minn.); and/or United States ex rel. Moldex-Metric, Inc. v. 3M Company, 3:16-cv-

        01533-MBS, (the “Prior Proceedings”) shall be produced within ten (10) days of entry of

        this Order. Wherever possible, all metadata available shall be produced in accordance with




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     Exhibit A. Documents produced from Prior Proceedings shall bear the original Bates

     numbers assigned to them in those proceedings. To the extent any documents produced in

     Prior Proceedings are withheld from Defendants’ production to Plaintiffs, Defendants shall

     identify the basis on which the documents are being withheld, including any impacted

     custodians and document categories, to enable the Parties to confer about the potential later

     production of such documents.

            (b)     Production of Documents from Prior FOIA Requests. The Parties agree to

     produce documents obtained by Plaintiff Leadership, Defense Counsel, or Defendants

     pursuant to Freedom of Information Act (“FOIA”) requests received as of the date of the

     entry of this Order, within ten (10) days of entry of this Order in accordance with the

     production format specifications described in Section I. By agreeing to produce FOIA

     material in this MDL, the Parties do not acknowledge or concede that they are obligated to

     produce FOIA material in any other matter, including, without limitation, earplug-related

     matters pending in any state courts. Moreover, by agreeing to produce FOIA material in

     this MDL, the Parties do not intend to waive any rights or protections pursuant to privacy,

     confidentiality, attorney-client privilege, attorney work product, and any other privileges,

     protections, or objections to discovery (individually, “Privilege”; collectively,

     “Privileges”). The fact of the Parties’ agreement to produce these FOIA materials in this

     proceeding shall not be used by any person against any Party or their counsel in any way,

     in this or any other matter or proceeding, including as a basis to seek production of any

     other documents. The Parties preserve all rights.




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  VI.            Subpoenas, FOIA Requests, and Touhy Requests

                 (a)     If either Defense Counsel or Plaintiff Leadership (as the “Issuing Party”)

         issue a non-party subpoena, a FOIA request, or a Touhy request after the date of this Order,

         the Issuing Party shall include a copy of this Order with the subpoena and request that third

         parties produce data and documents in accordance with the production specifications set

         forth in Section I, to the extent feasible.

                 (b)     Nothing in this Order is intended or should be interpreted as narrowing,

         expanding, or otherwise affecting the rights of third parties to object to a subpoena.

                 (c)     The Issuing Party is responsible for producing any documents obtained

         pursuant to a subpoena, FOIA request, or Touhy request to the other Party, within fourteen

         (14) days of receipt of those documents.

                 (d)     If the non-party production is not Bates-stamped, the Issuing Party will

         apply unique prefixes for the non-party production and Bates numbers prior to producing

         them to the other Party.

  VII.           ESI Liaisons

                 To promote transparency, communications, and cooperation between the Parties,

         the Parties shall designate e-discovery liaisons for purposes of meeting and conferring on

         ESI topics. As proposed by the Parties, the ESI liaison for Plaintiffs shall be David

         Buchanan, or his designee, and the ESI liaison for 3M shall be Michelle Six, or her

         designee. All productions of ESI by any Party or non-party shall be sent to the Parties’

         respective ESI liaison and lead counsel, and any identified designees.




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 VIII.          Miscellaneous

                (a)     Impact of Order on Other Obligations. Nothing in this agreement shall

         affect the preservation requirements set forth in previous orders, subsequent orders, or any

         other preservation obligations of the Parties for these proceedings or for other purposes,

         such as pursuant to court order, administrative order, statute, or in response to other

         anticipated litigation. By preserving documents or ESI for the purpose of this litigation,

         the Parties are not conceding that such material is discoverable, nor are they waiving any

         claim of privilege.

                (b)     Continuing Obligations. The Parties will continue to meet and confer

         regarding any issues as necessary and appropriate, including agreeing to modify any of the

         dates and periods set forth in this Order. This Protocol does not address or resolve any

         objections to the scope of the Parties’ respective discovery requests.

                (c)     Reservation of Rights. The Parties retain the right, upon reviewing any

         productions made by another Party in this Action or conducting other investigation and

         discovery, to request that Documents from additional non-custodial data sources and

         custodians be produced. The Parties shall meet and confer regarding such request(s) prior

         to any search or production related thereto.

                (d)     Document Storage. During the pendency of this litigation, the Parties shall

         make reasonable efforts to preserve the originals of all hard copy and ESI documents

         produced to the opposing Parties and to preserve the original native format version of any

         ESI produced in non-native format.




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               (e)   No Waiver. This Order shall not constitute a waiver of any objection to the

     ultimate discoverability, privilege, admissibility, or relevance of any records addressed

     herein.

               (f)   Good Faith Compliance and Conferral Obligation. The Parties shall make

     good faith efforts to comply with and resolve any differences concerning compliance with

     this Order. No Party may seek relief from the Court concerning compliance with this Order

     unless it has first conferred with the other Parties. The Parties shall reasonably cooperate

     in the exchange of information concerning data systems and ESI as may be necessary to

     facilitate the discovery and exchange of ESI in these proceedings and to further the

     exchange of information commenced at the Parties’ Rule 26(f) Conference.

               (g)   Non-English Documents. To the extent that Documents are produced that

     contain languages other than English, in whole or in part, the Producing Party shall produce

     each such Document in the original language or languages in which it was written when

     collected. The Producing Party has no obligation to create a translation of the Documents

     or any portion thereof, but shall provide any translation of the Document or any portion

     thereof that exists or is created through machine translation prior to production of the

     Document.

               (h)   Alternate Formats. Notwithstanding the Parties’ stipulations herein, upon

     reasonable request made by the Receiving Party, the Parties shall confer regarding the

     production in an alternate format of a document previously produced in accordance with

     this order.




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            (i)     Third-Party Data. The Parties will meet and confer before serving any

     subpoenas in this matter on commercial e-mail providers, such as Google or Yahoo, or any

     social media companies, such as Facebook or Twitter.

            (j)     Effect of Order. The Parties’ agreement to this Order is without prejudice

     to the right of any Party to seek an order from the Court to rescind or amend this Order for

     good cause shown. Nothing in this Order shall abridge the rights of any person to seek

     judicial review or to pursue other appropriate judicial action with respect to any discovery

     ruling made by the Court in this matter.



     DONE and ORDERED on this 17th day of June, 2019.


                                M. Casey Rodgers
                                M. CASEY RODGERS
                                UNITED STATES DISTRICT JUDGE




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                               EXHIBIT A



1.    BEGPROD or BEGBATES (Beginning Production Number)
2.    ENDPROD or ENDBATES (Ending Production Number)
3.    BEGATTACH
4.    ENDATTACH
5.    PARENTID
6.    NUMATTACH or ATTACHMENT COUNT
7.    MD5HASH
8.    CUSTODIAN
9.    ALL CUSTODIANS (where applicable)
10.   FROM
11.   TO
12.   CC
13.   BCC
14.   SUBJECT
15.   SENT DATE
16.   SENT TIME
17.   RECEIVED DATE
18.   RECEIVED TIME
19.   CONVERSATION INDEX
20.   FILE PATH
21.   ALL FILE PATHS
22.   FILE EXTENSION
23.   FILE NAME
24.   DOCUMENT TYPE (or FILE DESCRIPTION)
25.   FILESIZE
26.   AUTHOR
27.   ORGANIZATION (or COMPANY)
28.   TITLE
29.   PAGECOUNT (or IMAGE COUNT)
30.   CREATED DATE
31.   CREATED TIME
32.   LAST MODIFIED DATE
33.   LAST MODIFIED TIME
34.   NATIVEFILE_LINK
35.   TEXTFILE_LINK
36.   EMBEDDED OBJECTS (where applicable)
37.   ATTACHMENT NAMES
38.   LAST MODIFIED BY
39.   REDACTED
40.   IMPORTANCE (emails only)
41.   REDACTIONREASON
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42.   HASREVISIONS
43.   HASCOMMENTS
44.   HASHIDDENTEXT
45.   HASHIDDENSLIDES
46.   HASSPEAKERNOTES
47.   HASHIDDENROWS
48.   HASHIDDENCOLUMS
49.   HASHIDDENWORKSHEETS
50.   HASVERYHIDDENWORKSHEETS
51.   CONFIDENTIALITY
52.   FAMILYDATE
53.   MSGID




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